
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

        No. 96-1505

            INTERNATIONAL ASSOCIATION OF MACHINISTS and AEROSPACE WORKERS,
                                (AFL-CIO), LOCAL 2725

                                 Plaintiff, Appellee,

                                          v.

                       CARIBE GENERAL ELECTRIC PRODUCTS, INC.,

                                Defendant, Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                 [Hon. Jaime Pieras, Jr., Senior U.S. District Judge]
                                          __________________________

                                 ____________________

                                        Before

                                Boudin, Circuit Judge,
                                        _____________

                     Campbell and Bownes, Senior Circuit Judges.
                                          _____________________

                                 ____________________

            Felix Benitez  Colon with whom Rivera Tulla &amp; Ferrer  was on brief
            ____________________           _____________________
        for appellant.
            Luis F. Padilla for appellee.
            _______________


                                 ____________________

                                    March 13, 1997
                                 ____________________

























                 BOUDIN,  Circuit  Judge.   The  union,  representing the
                          ______________

            employees of  Caribe  General Electric  ("Caribe"), sued  the

            company in the district court  for damages and related relief

            for a  refusal to arbitrate, or for  an order requiring it to

            arbitrate,  five  specific  grievances  under   a  collective

            bargaining agreement.  The district court ordered arbitration

            as  to  all of  the  grievances, ruling  that  the arbitrator

            should determine whether the  grievances were arbitrable.  We

            hold that  this  was a  matter for  the court  to decide  and

            remand as to four of the grievances for further proceedings.

                 The facts  of importance to this  appeal are undisputed.

            Caribe and  its union  had a collective  bargaining agreement

            which, as  most do, contained many  substantive provisions, a

            grievance  procedure, and an  arbitration provision providing

            for   mandatory  arbitration   of  specified   categories  of

            disputes.   During the  term of  this agreement, Caribe  took

            five  different actions that  caused the union  to invoke the

            grievance procedure  and, when that did  not resolve matters,

            to demand arbitration.   Three  of the grievances grew out of

            one episode:   Ibrahim  Rosario, Herminio L pez,  and Esteban

            Calder n were  group leaders  of three  separate departments.

            The company eliminated  one of  the departments,  integrating

            its functions into  the other two; it  then re-assigned L pez

            and Calder n  as group  leaders of the  enlarged departments,

            and  retained Rosario  but without  a leadership  post.   The



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            fourth grievance  concerned Antonio  V zquez, who had  been a

            dispatcher; Caribe eliminated that position, reallocated some

            of the  duties to  a shipping  clerk, and  left V zquez  in a

            lower job  classification.  The fifth  grievance involved the

            temporary assignment of Narciso Torr ns for more than 30 days

            to  perform  the  tasks  of  two  assembly  workers who  were

            consecutively on vacation.  

                 When the grievance  procedure failed to resolve  matters

            and Caribe refused arbitration, the union brought suit in the

            district court under  29 U.S.C.    185,  claiming inter  alia
                                                              ___________

            that the grievances were subject to mandatory arbitration and

            that  the   company  should  be  required   to  proceed  with

            arbitration.   On  cross-motions  for  summary judgment,  the

            district court  ruled that the five  grievances were arguably

            subject  to  mandatory arbitration  and  that  the arbitrator

            should resolve this issue.

                 Caribe has  appealed  the judgment  as  to four  of  the

            grievances,  agreeing  that  the  Torr ns  matter  should  be

            arbitrated.   Conversely,  the  union now  concedes that  the

            district  court  was  mistaken  in  referring  the  issue  of

            arbitrability to  the arbitrator; but  it says that  all five

            grievances are subject to  mandatory arbitration and that the

            order  to  arbitrate  should  be affirmed  outright  on  this

            alternative ground.





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                 Labor   arbitration   depends   upon    contract,   AT&amp;T
                                                                     ____

            Technologies,  Inc. v. Communications  Workers, 475 U.S. 643,
            ___________________    _______________________

            648 (1986);  Tejidos de Coamo, Inc.  v. ILGWU, 22 F.3d  8, 12
                         ______________________     _____

            (1st  Cir.  1994), and  the  collective bargaining  agreement

            ("CBA") in this case  provides for mandatory arbitration only

            in  certain categories  of  cases,  including "[t]he  claimed

            violation  of  a specific  provision  or  provisions" of  the

            agreement.   CBA art. XXXIV,   6(a).  But even if a grievance

            falls  within this  category, it  is excluded  from mandatory

            arbitration by section  7 of the  same article under  certain

            conditions, such as where the grievance

                 (f) Would require an  arbitrator to consider,  rule
                 on or decide any of the following: 

                      (1)  The elements  of  an employee's  job
                      assignment;

                      (2) The title or other designations of an
                      employee's job classification;

                      (3) The right of  management to assign or
                      reassign work or elements of work.

                 The Supreme  Court has  held that "[u]nless  the parties

            clearly and unmistakably provide  otherwise, the question  of

            whether the parties agreed  to arbitrate is to be  decided by

            the court, not the arbitrator."   AT&amp;T Technologies, 475 U.S.
                                              _________________

            at 649.  Here,  far from agreeing to leave  the arbitrability

            issue  to  the  arbitrator,  the parties  provided  in  their

            agreement  that  in the  event of  a  dispute on  this issue,

            arbitration  may proceed "only after  a final [judgment] of a



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            Court  has  determined  that  the  grievance  .  .  .  raises

            arbitrable issues."  CBA art. XXXIV,   4(a).

                 Thus, we agree with both parties that the district court

            went  astray in  ordering arbitration without  first deciding

            itself  that   each  grievance   was  subject  to   mandatory

            arbitration.  To  do so,  the court  had to  decide that  the

            grievance fell  within a provision for  mandatory arbitration

            (e.g.,  section 6) and was not excluded by any other limiting
             ____

            provision (e.g.,  section 7).   We  turn,  therefore, to  the
                       ____

            union's  request that  we decide  the issue  of arbitrability

            ourselves and affirm the district court's arbitration order.

                 Since the union has not supplied us with the grievances,

            it is very hard to tell whether each one rests on a colorable

            claim that  a specific  provision of  the agreement  has been

            violated,  as  required by  section 6.    But even  with that

            information, we could not determine without  more information

            whether  arbitration  of  each  grievance  would  "require an

            arbitrator  to consider,  rule  on  or  decide"  one  of  the

            enumerated subjects that section 7(f) excludes from mandatory

            arbitration.    For  the same  reason,  Caribe's  alternative

            request  that we  direct  summary judgment  in  its favor  is

            without merit.

                 While a  remand for further proceedings  is necessary, a

            further word  or two may be  helpful to the  court on remand.

            Caribe  has not  limited  its claim  of non-arbitrability  to



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            section 7(f) but has also invoked other grounds of objection;

            section 7(e) of the  same article, which Caribe has  cited on

            appeal, is a close  companion to section 7(f) and  might need

            attention.   But  we  are concerned  about Caribe's  repeated

            invocation of two "management  rights" provisions as  shields

            against mandatory arbitration.

                  One is  the basic "management rights"  provision, in an

            article unrelated  to arbitration,  which seems to  us wholly

            beside  the point.   CBA  art. IV.   That  provision reserves

            management  rights  broadly  over  a  range  of   potentially

            pertinent subjects--such  as  reallocation of  work--but  the

            management  rights   are  retained  "subject  only  to  those

            provisions  of this  Agreement which  expressly qualify  this

            right."   Given  this  "subject .  . .  to"  proviso, we  are

            baffled  as  to  why  Caribe thinks  this  management  rights

            provision has any relevance.   

                 The union's  grievance claims  may seem obscure;  but to

            the  extent   they  rest  upon  the   violation  of  specific

            provisions,   we  seriously   doubt  that   the   article  IV

            "management  rights" clause  could be  read either  to negate

            those provisions  or to restrict  arbitration.  See  CBA art.
                                                            ___

            XXXIV,    4(b)(4);  United  Steelworkers  v. Warrior  &amp;  Gulf
                                ____________________     ________________

            Navigation Co., 363 U.S. 574, 584-85 (1960).  The parties are
            ______________

            welcome to argue this  issue on remand, if Caribe  chooses to

            press it,  but we do not  think the company should  be unduly



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            encouraged by its earlier  success in International Assoc. of
                                                  _______________________

            Machinists  &amp; Aerospace Workers v. General Elec. Co., No. 89-
            _______________________________    _________________

            1115JP, 1990 WL 29806 (D.P.R. 1990), which was not appealed.

                 The   arbitration  article  itself  contains  a  second,

            somewhat less  detailed reservation of management rights, CBA

            art. XXXIV,   4(b)(4), but it too appears to permit mandatory

            arbitration--if  otherwise provided--so long as the grievance

            is based on an express limitation in the agreement and is not

            subject to  section 7's exclusions.   See id. ("[T]he parties
                                                  ___ ___

            have not  agreed to arbitrate demands  which challenge action

            taken  by the  company in  the  exercise of  any [management]

            rights, except where such challenge is based upon a violation
                    _____________________________________________________

            of any  such expressed limitations (other than  those set out
            _____________________________________________________________

            in Section 7 of this Article XXXIV).") (emphasis added).
            ___________________________________

                 On remand,  we suggest that the  district court consider

            on a grievance-by-grievance basis  whether--as to each of the

            four remaining grievances--the grievance  (1) is based upon a

            colorable  claim that  the company's  action violated  one or

            more  specific  provisions of  the agreement  and (2)  is not

            excluded from  mandatory arbitration  by one or  more of  the

            exclusions  of  section  7.     Unless  both  conditions  are

            satisfied, it appears  that mandatory  arbitration cannot  be

            ordered,  so the district court may  not need to rule on both

            conditions.





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                 There  may  be  other  bases  for,  or  limitations  on,

            mandatory  arbitration  that  we  have  overlooked;   but  we

            encourage the  parties to help  the district court  focus the

            issues.   As already  noted,  we doubt  that the  management-

            rights reservations are pertinent.  And it certainly does not

            help  for the  union  to invoke  the Supreme  Court's default

            presumption  in  favor of  arbitration  where,  as here,  the

            collective  bargaining  agreement   explicitly  negates   the

            presumption.  CBA Art.  XXXIV,   4(b)(5);  AT&amp;T Technologies,
                                                       _________________

            475 U.S. at 650.

                 Finally, it  is worth emphasizing that  the issue before

            the  district court on remand in  this case is not the merits

            of the grievances; it  is simply whether they are  subject to

            mandatory arbitration.   All that the union  complained of in

            this case  was the  failure to afford  mandatory arbitration,

            and that is the only issue  before us or the district  court.

            AT&amp;T Technologies, 475 U.S. at 649-50.  Needless to say, even
            _________________

            if a  grievance is  excluded from mandatory  arbitration, the

            union is not necessarily  without contractual remedies for an

            alleged violation of  the agreement.  Cf. Vaca v.  Sipes, 386
                                                  ___ ____     _____

            U.S. 171, 184 n.9 (1967).

                 The order of the district court is therefore affirmed as
                                                              ________

            to the Torr ns grievance  but modified to require arbitration
                                          ________

            on the merits, the company having agreed that  this grievance

            is arbitrable.  The order requiring arbitration is vacated as
                                                               _______



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            to  the  other  four  grievances  and  remanded  for  further
                                                   ________

            proceedings not inconsistent with this decision.

                 It is so ordered.
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